
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-08-013-CV

STEPHEN LEE WILSON, M.D.	APPELLANT



V.



AICCO, INC.	APPELLEE



----------

FROM THE 67
TH
 DISTRICT COURT 
OF TARRANT COUNTY

----------

MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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On March 19, 2008, we notified appellant that his brief had not been filed as required by Texas Rule of Appellate Procedure 38.6(a). &nbsp;T
EX.
 R. A
PP.
 P. 38.6(a). &nbsp;We stated that we could dismiss the appeal for want of prosecution unless appellant or any party desiring to continue this appeal filed with the court by March 31, 2008 a response showing grounds for continuing the appeal. &nbsp;We have not received any response.

Because appellant’s brief has not been filed, we dismiss the appeal for want of prosecution. &nbsp;
See
 T
EX
. R. A
PP
. P. 38.8(a), 42.3(b).

Appellant shall pay all costs of this 
appeal, for which let execution issue.



PER CURIAM 		





PANEL D: &nbsp;DAUPHINOT, HOLMAN, and GARDNER, JJ.



DELIVERED: &nbsp;April 10, 2008

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




